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    Attorneys for Lynn Pinker Hurst & Schwegmann, LLP and The Pettit Law Firm


                                    UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF TEXAS
                                            DALLAS DIVISION

          IN RE:                          §
                                          §                      CASE NO. 19-34054-SGJ11
          HIGHLAND CAPITAL MANAGEMENT, §
          L.P.,1                          §                      CHAPTER 11
                                          §
                       Reorganized Debtor §


                                         NOTICE OF APPEARANCE

           James J. Lee and Michael C. Lee of Vinson & Elkins LLP enter an appearance as counsel

of record for Lynn Pinker Hurst Schwegmann, LLP and the Pettit Law Firm and respectfully

request that the Court and opposing counsel serve copies of all notices or pleadings in the above

action as set forth below:

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1
 Highland’s last four digits of its taxpayer identification number are (8357). The headquarters and service
address for Highland is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


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                                               Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on October 23, 2023, a true and correct copy of the foregoing instrument
was served on all counsel of record using the Court’s electronic filing system.

                                               /s/ James J. Lee
                                               James J. Lee




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